Case 2:01-mc-00021-KSH , Document 53-1 Filed 05/10/06 Page 1 of 4 PagelD: 131

U.S. Department of Justice

United States Marshals Service
District of New Jersey

30 Wainut Street, Room 2009
Newark, New Jersey O7 fF 02

Telephone (273) 645-2414

Facsimile (973) 693-41 42
April 13, 2006

Francis Ballak, Esq.

GOLDENBERG, MACKLER, SAYEGH, MINTZ, PFEFFER, BONCHI & GILL
560 New Road a

Northfield, NJ 08225

Re: Cherokee Solutions/ Cityscape Corp vs. Walsh Securities Corp.
Case No: 2:01-MC-00021

Dear Francis Ballak, Esq.:

We have received deposits totaling the amount of $1,100.00 with regards to the above-
captioned case. However, our expenses have exceeded that amount.

The enclosed U.S. Marshals Service Closeout Expenses and Disbursement Tally Sheet will
provide an explanation for the expenses up to the present time.

We request that you send a check in the amount of $1,743.80 immediately. Be advised that we
cannot issue a U.S. Marshal's Deed/Bill of Sale for the property sold until we receive the "Order
Confirming Sale” and the funds requested.

if you have any questions, please contact, Elizabeth Baskerville, at (973) 645-2404 Ext. 247.

Sincerely,

\ JAMES T, PLOUSIS

United States Marshal, DNJ

Enclosure

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Case 2:01-mc-00021-KSH Document 53-1 Filed 05/10/06 Page 2 of 4 PagelD: 132

_ FOR: 263-265 S. 10™ STREET, NEWARK, NJ 07103

UNITED STATES MARSHALS SERVICE

PURCHASER SIGNATURE FORM

CITYSCAPE CORP.
vs.
WALSH SECURITIES CORP.

2:01-MC-00021(KSH)

THE PROPERTY DESCRIBED ABOVE WAS BID OFF BY ME FOR THE SUM OF
$ j00°™ Céexoir B10) , AND | HEREBY AGREE TO COMPLY
WITH THE CONDITIONS OF THE SALE SET FORTH HEREIN. THE UNITED
STATES MARSHALS SERVICE'S COMMISSION IS BASED UPON THE FAIR

MARKET VALUE OF THE PROPERTY, THE JUDGMENT OR A SATISFACTORY BID.

Maece 28 foo
DATE

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PURCHASER

e Oo © ot 6357
ADDRESS

Case Bue nswiel, WT CB8BIG
CITY, STATE, ZIPCODE !

Case 2:01-mc-00021-KSH . Document 53-1 Filed 05/10/06 Page 3 of 4 PagelD: 133

Re: Cherokee Solutions/ Cityscape Corp vs. Walsh Securities Corp.
Case No: 2:01-MC-00021

CLOSEOUT EXPENSES AND DISBURSEMENT / TALLY SHEET

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AQV@MISING..... 1 ee eect cnet es es et acne cre crear reee renee $17,357.00
Forwarding Fees...(Process sent to another district for service)....$
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Deposit Received From Sale... ccecccccccessensecssecseeresssanvensesenvecnsanenss $
Amount Previously R@IMDUISEU.... 0.002. tee c cece tetteeeteee g

BALANCE OWED TO THE U.S. MARSHALS .........c0sc0cecesnceeoeee $1, 743.80

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FOR: 263-265 S. 10" STREET, NEWARK, NJ 07103

UNITED STATES MARSHALS SERVICE

LIST OF BIDDERS

RE: CITYSCAPE CORP. vs. WALSH SECURITIES CORP.

CIVIL NUMBER #: 2:01-MC-00021(KSH)

DATE OF SALE: MARCH 28, 2006

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